Case1:07-cv-O1325-R|\/|C Document 5 Filed 07/02/2008 Page1 of1

Default - Rule 55A (CO 40 Revised-DC 02/00)

UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF cOLuMBIA

UN|TED STATES OF AMER|CA
Plaintiff(s)

 

CivilAction No. 07-1325 (RMC)
v.

ALL PROPERTY |N/UNDERLY|NG
E-GOLD ACCOUNT NUMBER 3297330

 

Defendant(s)

ALL PROPERTY IN/UNDERLYING

RE: E-GOLD ACCOUNT NUMBERS 3297330

DEFAULT

It appearing that the above-named defendant(s) failed to plead or otherwise defend this action
though duly served with r §§ and copy of the complaint on October 11, 2007 , and an
affidavit on behalf of the plaintiff having been filed, it is this 2nd day of July , 2008 declared

that defendant(s) is/are in default.

%\é a Ula.rranjt <>§ arr@i in Qem

NANCY MAYER-WHITTINGTON, Clerk

T. Gumiel
Deputy Clerk

